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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                      Filed: January 17, 2018

* * * * * * * * * * * * * *
JESSIE M. HOLLOWAY,                            *      No. 16-919V
                                               *
               Petitioner,                     *      Special Master Sanders
                                               *
v.                                             *
                                               *
SECRETARY OF HEALTH                            *      Attorneys’ Fees and Costs; Reasonable
AND HUMAN SERVICES,                            *      Amount Requested.
                                               *
              Respondent.                      *
* * * * * * * * * * * * * *
Sean F. Greenwood, The Greenwood Law Firm, Houston, TX, for Petitioner.
Robert P. Coleman, III, United States Department of Justice, Washington, DC, for Respondent.

                                            DECISION1

        On August 2, 2016, Jessie M. Holloway (“Petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program (“Vaccine Program”).2 42 U.S.C. §§ 300aa-10
to -34 (2012). Petitioner alleged that she suffered from pneumonitis and respiratory problems as
a result of a Prevnar 13 vaccine administered on December 17, 2015. Pet. 1, ECF No. 1. On
October 30, 2017, the undersigned dismissed Petitioner’s claim following a motion for a
dismissal decision. Decision, ECF No. 38.

         On December 18, 2017, Petitioners filed an application for attorneys’ fees and costs.
ECF No. 41. Petitioner requested $22,252.50 in attorneys’ fees and $3,247.61 in costs, for a
total of $25,500.11. Id. at 1. Respondent submitted a Response to Petitioners’ motion on
December 22, 2017. ECF No. 42. Respondent indicated that “[t]o the extent that the Special
Master is treating [P]etitioner’s request for attorneys’ fees and costs as a motion that requires a

1
  This decision shall be posted on the website of the United States Court of Federal Claims, in
accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899,
2913 (codified as amended at 44 U.S.C. § 3501 note (2012)). As provided by Vaccine Rule
18(b), each party has 14 days within which to request redaction “of any information furnished by
that party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which would
constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b).
2
 National Childhood Vaccine Injury Act of 1986, Pub L. No. 99-660, 100 Stat. 3755.
Hereinafter, for ease of citation, all “§” references to the Vaccine Act will be to the pertinent
subparagraph of 42 U.S.C. § 300aa (2012).
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response from [R]espondent[,] . . . Respondent is satisfied the statutory requirements for an
award of attorneys’ fees and costs are met in this case.” Id. at 2. Respondent recommended that
the undersigned exercise her discretion and determine a reasonable award for attorneys’ fees and
costs. Id. at 3. Petitioner did not submit a Reply.

        The undersigned has reviewed the detailed records of time and expenses of Petitioner’s
counsel, and finds that they are reasonable. In accordance with the Vaccine Act, 42 U.S.C. §
300aa-15(e) (2012), the undersigned finds that Petitioner is entitled to attorneys’ fees and costs.
Accordingly, the undersigned hereby awards the amount of $25,500.11,3 in the form of a
check made payable jointly to Petitioner and Petitioner’s counsel, Sean F. Greenwood, of
The Greenwood Law Firm. In the absence of a motion for review filed pursuant to RCFC
Appendix B, the clerk of the court shall enter judgment in accordance herewith.4

       IT IS SO ORDERED.

                                              s/Herbrina D. Sanders
                                              Herbrina D. Sanders
                                              Special Master




3
  This amount is intended to cover all legal expenses incurred in this matter. This award
encompasses all charges by the attorney against a client, “advanced costs” as well as fees for
legal services rendered. Furthermore, § 15(e)(3) prevents an attorney from charging or
collecting fees (including costs) that would be in addition to the amount awarded herein. See
generally Beck v. Sec’y of Health & Human Servs., 924 F.2d 1029 (Fed. Cir. 1991).
4
 Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to
seek review. Vaccine Rule 11(a).

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